          Case 3:08-cr-01332-JAH                     Document 299                  Filed 08/24/12              PageID.1679                Page 1 of 4


     ""AO 245B    (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1
                                                                                                                          fill [0
                                              UNITED STATES DISTRICT COultttAUG 24 PH 12: 3&
                                                  SOUTHERN DISTRICT OF CALIFORNIltLERK US;
                                                                                                            :;OuTH£>lH "'C ~~"..,          "","   ",

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMI~" cCA'SE iFO .!,;
                                        v.                                         (For Offenses Commi~~ On or A                ovember I, 1987)
                                                                                                               ---J-UQ..._ _ _
                                                                                                                                            nF PIp",
                            Claudia Gonzalez (3)                                   Case Number: 08-cr-01332-JAH-3
                                                                                    Anthony Edward Colombo Jr
                                                                                   Defendant's Attorney
    REGISTRATION NO. 14220298

    o
    THE DEFENDANT:
    181 pleadcd guilty to count(s)            one, fourteen and fifteen ofthe eighteen-count indictment.

    o was found guilty on counl(s)
           after a plea of noI guilty.
           Accordingly, the defendant is adjudged guilty of such count(s). which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18:371 &                             Conspiracy to Bring in Illegal Aliens for Financial Gain;                                                     1
8: 1324(a)(2)(B)(ii);
18:981(a)(I)(C),982(a)(I)
and (a)(6); and 28:2461
18:201(b)(I)(A) and (C)              Bribery of a Public Official; Aiding and Abetting                                                            14
18: 1956(a)(2)(A) and (h);            Conspiracy to Launder Money (International Promotion)                                                       15
18;2; 18:981(a)(I)(C),
982(a)(l) and (a)(6); & 28:246

              The defendant is sentenced as provided in pages 2 through _ _4_ _ of this judgment. The sentence is imposed pursuant
       to the Sentencing Reform Act of 1984.
   o The defendant has been found not guilty on count(s)
   181 Count(s) --=.r~em=al;.;.;n;;.;m...gi!.-_ _ _ _ _ _ _ _ __              is 0 are~ dismissed on the motion of the United States,
   181 Assessment: $100.00 waived as to each count.
   181 No fine                                          o Forfeited pursuant to order filed                         included herein.
             IT IS ORDERED that the defendant shall notilY the United States attorney for this district within 30 days of any change of name, residence.
       or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
       defendant shall notilY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                    August 20, 2012
                                                                                   Date 0 Imposition of Sentence




                                                                                         ITED STATES DISTRICT JUDGE



                                                                                                                                          08-cr-01332-JAH-3
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AO 245B     (Rev. 9/00) Judgment ill Criminal Case
            Sheet 2 - Imprisonment

                                                                                               Judgmenl··- Page _ _2__ of     4
 DEFENDANT: Claudia Gonzalez (3)
CASE NUMBER: 08-cr-01332-JAH-3
                                                              IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          Ct 1: Time served.
          Ct 14: Time served.
          Ct 15: Time served. concurrent as to all counts.

    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o     The court makes the following recommendations to the Bureau of Prisons:




    o     The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Da.m.    0 p.m.       on
                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o
           o as    notified by the United States Marshal.
           o as    notified by the Probation or Pretrial Services Office.



                                                                 RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                    to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                        By __________~~~~~~~----------------
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                   08-cr-01332-JAH-3
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A0245D        (Rev. 3/10) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                           Judgment· Page __3__ of _ _4.:.-._ _
DEFENDANT: Claudia Gonzalez (3)                                                                    a
CASE NUMBER: 08-cr-01332-JAH-3
                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Two years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offonses committed on Dr after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ~on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug t.::sts
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dUring
the term of supervision, unless otherwise ordered by court.
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if appIicab Ie.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
        Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, ifapplicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                          ST ANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                               08-cr-01332-JAH-3
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        AO 2458    (Rev. 9100) Judgment in a Criminal Case
                   Sheet 4 . Special Conditions
                                                                                                          Judgment--Pagc ~ of _....;!4:.-_ _
        DEFENDANT: Claudia Gonzalez (3)                                                              II
        CASE NUMBER: 08-cT-01332-JAH-3




                                               SPECIAL CONDITIONS OF SUPERVISION
D Submit person, residence, office or vehicle to a ~e~rch, conducted by a United States Prob~tion Officer ~~ a reasonable ti~e and in a   .
    reasonable manner, based upon reasonable suspIcion of contraband or eVidence of a vIOlatIOn of a conditIOn of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

I8l Ifofficer
        deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
              with 24 hours of any reentry to the United States; supervision waived upon deportation. exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

D psychiatrist/physician,
  Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
                          and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o    Participate in a mental health treatment program as directed by the probation office.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
  probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
o    Complete          hours of community service in a program approved by the probation officer within
o    Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

D Reside in a Residential Reentry Center (RRC) as directed by the Bureau ofPrisons for a period of
  commencing upon release from imprisonment.

o    Remain in your place of residence for a period of
     services or undergoing medical treatment.
                                                                                 , except while working at verifiable employment, attending religious

D Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
D Comply   with the conditions of the Home Confinement Program for a period of                          months and remain at your residence
  except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
     procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
     probation officer.

D Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
  The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
     on the defendant's ability to pay.


                                                                                                                                  08-cT-01332-JAH-3
